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                             No. 23-1091

           IN THE UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA

                 CONSUMERS’ RESEARCH, ET AL.,
                         Petitioners,

                                  v.

       FEDERAL COMMUNICATIONS COMMISSION, ET AL.,
                     Respondents.



                 On Petition for Review of an Order of
                      the FCC; FCC-DA-23-216

 AMICUS CURIAE BRIEF OF PUBLIC KNOWLEDGE IN SUPPORT
                   OF RESPONDENTS



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CERTIFICATE AS TO PARTIES, RULINGS, & RELATED CASES


Pursuant to Circuit Rule 28(a)(1), amici curiae certify as following:
      A. Parties and Amici. Petitioners are Consumers’ Research;
      Cause Based Commerce, Inc.; Edward J. Blum; Kersten Conway;
      Suzanne Bettac; Robert Kull; Kwang Ja Kirby; Tom Kirby; Joseph
      Bayly; Jeremy Roth; Deanna Roth; Lynn Gibbs; Paul Gibbs; and
      Rhonda Thomas.
      Respondents are the Federal Communications Commission and
      the United States of America.
      Intervenors for Respondents are Competitive Carriers Association;
      National Telecommunications Cooperative Association; Schools,
      Health & Libraries Broadband Coalition; The Benton Institute for
      Broadband & Society; USTelecom - The Broadband Association;
      Center for Media Justice; and National Digital Inclusion Alliance.
      Amici Curiae for Respondent are Robert Frieden, Academy and
      Emeritus Professor of Telecommunications and Law,
      Pennsylvania State University, and via this brief, Public
      Knowledge.
      B. Rulings Under Review. Under review is the final order of the
      Federal Communications Commission deeming approved the
      Proposed Second Quarter 2023 Universal Service Contribution
      Factor, CC Docket No. 96-45, DA 23-216 (Mar. 14, 2023).
      C. Related Cases. To the knowledge of counsel, there are no
      related cases challenging the Second Quarter 2023 Universal
      Service Contribution Factor currently pending in this Court or in
      any other court. Petitioners have challenged other contribution
      factors as detailed in their brief.1




1 Petitioner’s Brief at ii.

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            CORPORATE DISCLOSURE STATEMENT


     Pursuant to Federal Rule of Appellate Procedure Rule 26.1 and

Circuit Rule 26.1, amicus curiae states that it does not have a parent

corporation, and no publicly-held corporation owns a 10% or greater

ownership interest in it.

            CERTIFICATE AS TO CIRCUIT RULE 29(d)


     Public Knowledge’s brief uniquely provides a detailed analysis of

the relationship between the FCC and USAC. The brief explains the

1996 statutory scheme, and how the Administration of the fund by

USAC and the FCC conforms with the statute, the Constitution, and

administrative law. Versions of this brief have been submitted in

similar cases in the Sixth and Fifth Circuit Courts of Appeal.

Consumers’ Rsch. v. FCC, 67 F.4th 773 (6th Cir. 2023); Consumers’

Rsch. v. FCC, 63 F.4th 441 (5th Cir. 2023) (reh’g en banc granted,

opinion vacated).

                                 /s/ Harold Feld
                                 Harold Feld
                                 Counsel of Record
                                 PUBLIC KNOWLEDGE


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                 INTEREST OF AMICUS CURIAE2


     Public Knowledge is a nonprofit technology policy organization

that promotes freedom of expression, an open Internet, and access to

affordable communications tools and creative works. As part of that

mission, Public Knowledge advocates on behalf of consumers promoting

policies to ensure the ubiquitous availability of robust and affordable

broadband service to all Americans. Public Knowledge’s advocacy is

undertaken through providing comment to the Federal Communications

Commission (FCC), the National Telecommunications and Information

Administration, Congress and other federal and state policymakers on

its views on how to promote access to these essential services. As it

relates to this case, Public Knowledge has regularly filed comments in

the FCC’s proceedings concerning the universal service fund (USF) and

has a deep understanding of the USF program.




2      This brief is submitted under Fed. R. App. P. 29 with the consent
of all parties. Undersigned counsel for amicus curiae certifies that this
brief was not authored in whole or in part by counsel for any of the
parties; no party or party’s counsel contributed money for preparing or
submitting this brief; and no one other than amicus curiae and its
counsel have contributed money for preparing or submitting this brief.
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     Petitioners are asking this Court to overturn a funding structure

for America’s universal service objectives that was established by

Congress in 1996. Given Public Knowledge’s engagement on these

issues over the past twenty years, it is well positioned to offer this

Court an informed perspective on the FCC’s work to advance this

Congressional directive and the roles of the FCC and Universal Service

Administrative Company (“USAC”) in administering the programs

established by the FCC to implement the statutory mandate. This

amicus focuses on the period from 1997—the year in which the FCC

began the process of effectuating the Congressionally-mandated,

explicit support mechanism for the USF—to the present day.

Specifically, this filing briefly discusses: (i) the Telecommunications Act

of 1996’s establishment of universal service in Section 254 and (ii) the

roles of the FCC and USAC in administering the USF program. Public

Knowledge has both a strong interest and significant expertise in these

subjects.




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                  SUMMARY OF THE ARGUMENT


     The Telecommunications Act of 1996 established the framework

for universal service, defining its scope, purpose, and funding

mechanisms. Contrary to Petitioners’ assertions, the Universal Service

Administrative Company (USAC) administers the program under the

guidance, active supervision and control of the FCC. Congress provided

clear definitions and parameters within the Act to guide the FCC's

administration of the USF and provided for ongoing development and

modification of the program as the communications needs of the country

evolved, which includes public input. The FCC’s role is not merely, as

Petitioners misstate, ministerial; it actively oversees, sets policies, and

ensures the program’s alignment with the Congressional intent to

advance universal service. As the brief establishes through a factual

analysis of the history of our universal service policy in the United

States, this is an appropriate delegation by Congress to an expert

agency, the FCC, to achieve our national goal of universal service.




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                              ARGUMENT

I.    THROUGH THE TELECOMMUNICATIONS ACT OF 1996,
      CONGRESS MADE UNIVERSAL SERVICE SUPPORT EXPLICIT
      BY ESTABLISHING THE DEFINITION OF UNIVERSAL
      SERVICE, THE PURPOSE FOR SUPPORT, AND HOW TO
      COLLECT FUNDING.

      Universal service has been a telecommunications policy objective

since the earliest days of the first communications networks. Each

generation has understood that these networks—from voice, to data

processing, to the modern wireline and wireless broadband networks—

are essential services for participation in our economy.3 Making these

services universally available is not simply about ensuring everyone has

access to telecommunications services, although this is an important

goal in itself. As a federal policy matter, universal service is also about

the important economic and educational benefits, as well as other

opportunities, that having access to communications service provides.4



3 See, Rahul Tongia, Ernest J. Wilson III, The Flip Side of Metcalfe’s

Law: Multiple and Growing Costs of Network Exclusion, 5 International
Journal of Communication 665 (2011) (explaining that as more people
gain access to broadband internet service and participate in the digital
side of society, everyone benefits. Additionally, “as a network grows in
size and value, those outside the network face growing disparities.”)
4 47 U.S.C. § 151; Mozilla Corp. v. Fed. Commc’n Comm’n, 940 F.3d 1,

109-113 (D.C. Cir. 2019) (per curiam).
                                     4
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      Under the Communications Act of 1934, universal service was

addressed through an implicit support mechanism system of cross

subsidies to expand the network and address universal service goals.

This cross-subsidization was built into the rate structure for phone

service by shifting costs and using profits earned in more densely-

populated urban areas to subsidize the wiring and operational costs for

the less populous, higher cost rural areas.5 With the introduction of

greater competition in the long distance market, the cross-subsidization

structure was no longer able to be maintained. The FCC took interim

steps to replace the support, but it was Congress that ultimately

stepped in to provide the current universal service mechanism to

achieve our Nation’s universal service objectives.

      In the Telecommunications Act of 1996, Congress chose to create

an explicit support mechanism through the adoption of Section 254.6

Under Section 254, Congress defined universal service as “an evolving


5 Universal Service Fund: Background and Options for Reform,

Congressional Research Service, at 2, available at
https://www.everycrsreport.com/files/20111025_RL33979_b2c5bfe9f6d8
7f0108c6950bd9df0435d58bd31c.pdf (2011).
6 Telecommunications Act of 1996, Pub. L. No. 104-104, 110 Stat. 56

(1996). The 1996 Act amended the Communications Act of 1934. 47
U.S.C. § 151, et seq.
                                   5
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level of telecommunications services that the Commission shall

establish periodically under this section, taking into account advances

in telecommunications and information technologies and services.”7

Congress directed the FCC to consider specific factors in establishing

and modifying that definition over time, including the extent to which

services being considered by the FCC for inclusion as a supported

service are “essential to education, public health, or public safety;” and

“have, through the operation of market choices by customers, been

subscribed to by a substantial majority of residential customers.”8

      Having defined what universal service is and concluding that the

definition of it needed to evolve over time consistent with the principles

and criteria in 254(c)(1), Congress provided additional requirements for

the FCC to comply with in funding provided to providers building

networks in rural areas, schools, libraries, and rural health care

providers9 and made clear that the FCC’s already-established Lifeline

program, which assists low-income families, was not affected by the


7 47 U.S.C. § 254(c)(1).
8 47 U.S.C. § 254(c)(1). Other criteria are enumerated in the statute for

the FCC to consider as it evolves the definition over time. See generally,
47 U.S.C. § 254(c)(1)-(3).
9 47 U.S.C. §§ 254(h)(1)(A)-(B), 254(h)(2)(A).

                                     6
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newly adopted provisions of Section 254.10 It is worth noting that in

addition to the Lifeline program, which the FCC created under its

authority as outline in the Communications Act of 1934, the FCC also

created the predecessor to the high-cost fund under its own authority

following the dissolution of AT&T, a decision that this Court of Appeals

upheld.11

      To fund the universal service programs with a “specific,

predictable, and sufficient mechanism established by the Commission to

preserve and advance universal service,” Congress mandated “every

telecommunications carrier,” and “any other provider of

telecommunications” that the FCC determines should, as the public

interest requires, to contribute to the universal service fund.12 Here

again, Congress explicitly instructed the FCC to collect funds in a



10 47 U.S.C. § 254(j).
11 Rural Tel. Coalition v. FCC, 838 F.2d 1307 (D.C. Cir. 1988). The FCC

took this action under it Section 1 authority (47 U.S.C. § 151) stating
that creating a “Federal Universal Service Fund” would “ensure that
telephone rates are within the means of the average subscriber in all
areas of the country, thus providing a foundation on which the states
can build to develop programs tailored to their individual needs.” Id. at
1312 (citing Amendment of Part 67 of the Commission's Rules and
Establishment of a Joint Board, 96 F.C.C.2d 781, 795) (1984)).
12 47 U.S.C. § 254(d).

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sufficient and predictable manner from and to undertake ongoing

assessments to determine whether other providers of

telecommunications should contribute. In rare instances, the FCC has

expanded the list of contributing entities, such as the extension of a

USF contribution obligation to certain providers of Voice over Internet

Protocol (VoIP) services.13 At the time, the FCC’s guiding principle for

requiring VoIP providers to contribute to USF was that the public

interest requires providers who benefit from universal service through

their interconnection with the public switched telephone network

(“PSTN”) to also share in the burden of funding the USF.14

      Congress’ statutory scheme, when viewed in the context of our

evolving universal service policy over the preceding decades,

demonstrates that our communications networks are ever changing. As

such, Congress empowered the FCC, the expert agency, to oversee and


13 The FCC defines interconnected VoIP service as “interconnected VoIP

services” as “those VoIP services that: (1) enable real-time, two-way
voice communications; (2) require a broadband connection from the
user’s location; (3) require IP-compatible customer premises equipment;
and (4) permit users to receive calls from and terminate calls to the
PSTN.” 47 C.F.R. § 8.1
14 Universal Service Contribution Methodology, et. al., WC Docket No.

06-12, Report and Order and Notice of Proposed Rulemaking, 21 FCC
Rcd. 7518 (2006).
                                     8
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advance our Nation’s universal service policy so that it will keep pace

with that evolution.

II.   THE INTERACTION AND ADMINISTRATION OF USF BY THE
      FCC AND USAC CLEARLY DEMONSTRATES THE FCC
      RETAINS CONTROL OVER USF AND USAC ACTS IN A
      MINISTERIAL CAPACITY.

      Petitioners brief substantially mischaracterizes the roles that the

FCC and USAC perform in administering the universal service

program. Other than its statement that USAC is an independent

subsidiary of the National Exchange Carrier Association, Inc. there is

not much else that is accurate in its summary of the FCC’s or USAC’s

role. This leads to the Petitioners’ erroneous conclusion that the

administration of the universal service fund has been inappropriately

delegated to a private entity by the FCC. 15

      A.    The Roles of the FCC and USAC Clarified

      As outlined in the FCC’s Memorandum of Understanding between

the FCC and USAC, in 1998 USAC was designated as the competitively

neutral entity established to administer the USF.16 That administration


15 Petitioner’s Brief at 13.
16 Memorandum of Understanding Between the Federal

Communications Commission and the Universal Service Administrative

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is done in accordance with the universal service provisions of the

statute as interpreted by the FCC’s rules implementing those

provisions.17 USAC has no authority to make policy; nor does USAC

have authority to interpret rules, regulations, or Congressional intent.18

Instead, if USAC needs an interpretation of a rule or policy, it is

required to ask the FCC for guidance.19 Moreover, even the data on

revenue collected by USAC is done pursuant to a form that is developed

and adopted by the FCC and approved by the Office of Management and

Budget.20 As these and other facts covered in the Memorandum of

Understanding between the parties demonstrate, it is USAC that is the



Company, available at https://transition.fcc.gov/omd/usac-mou.pdf.
(2016). See also, See Changes to the Board of Directors of the National
Exchange Carrier Association, Inc. and Federal-State Joint Board on
Universal Service, Report and Order and Second Order on
Reconsideration, 12 FCC Rcd. 18400, (1997); Third Report and Order,
CC Docket No. 97-21, Fourth Order on Reconsideration in CC Docket
No. 97-21 and Eighth Order on Reconsideration in CC Docket No. 96-45,
13 FCC Rcd. 25058, (1998).
17 Id.
18 47 C.F.R. § 54.702(c).
19 Id.
20 See e.g., FCC Form 499 Telecommunications Reporting Worksheet,

available at https://www.fcc.gov/document/telecommunications-
reporting-worksheets-and-accompanying-instructions/form.
Incidentally, this form is also used by other administrators of programs
for the telecommunications relay services
                                     10
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entity performing ministerial functions, not the FCC, contrary to the

assertion by Petitioners.21

      Petitioners also contend that USAC is “charged with establishing

the budget for the Universal Service Fund” and that each quarter

“USAC’s Board announces a proposed contribution amount – essentially

how much money USAC wants for universal service for the next

quarter.”22 This reveals the Petitioner’s fundamental misunderstanding

about how the USF works.

      The FCC is actually the entity charged with setting the budget for

USF. It does this through the Administrative Procedure Act (“APA”)

notice-and-comment rulemaking process.23 Through the APA process,


21 Petitioner Brief at 13, 14
22 Petitioner’s Brief at 12-13.
23 The FCC organizes the programmatic work for the four disbursement

programs and the contribution methodology into discrete dockets for
policymaking which include as well as USAC oversight and appeals as
part of each of the dockets. See e.g., High-Cost Universal Support
program, also known as the Connect America Fund, WC Docket No. 10-
90 (over 980 actions to date in that docket since its inception in 2010),
WC Docket 05-337 (over 295 actions in that docket since its inception in
2005), and CC Docket No. 96-45 (over 2530 action in that docket since
its inception in 1996). A chronology of decisions for each of the four
Universal Service programs can also be found on the FCC’s website
(High Cost/Connect America Fund is available at
https://www.fcc.gov/general/universal-service-high-cost-areas-connect-

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the FCC defines the programmatic rules, sets budgets for the four

disbursement programs, makes modifications as needed, grants waivers

to parties that meet the waiver standard, and provides clarifications of

its rules.24 As demonstrated by a review of each of the dockets the FCC

has established for the four disbursement programs, the FCC remains

in control of every aspect of the USF.25

      B.   Statutory Limitations on Participation in USF

      As to participation in USF, Petitioners mischaracterize what the

plain language of the statute states as well as the operation of USF




america-fund; Schools and Libraries fund is available at
https://www.fcc.gov/general/e-rate-schools-libraries-usf-program; Rural
Health Care Fund is available at https://www.fcc.gov/general/rural-
health-care-program; Lifeline Fund is available at
https://www.fcc.gov/general/lifeline-program-low-income-consumers;
and the USF Contribution Methodology is available at
https://www.fcc.gov/general/contribution-methodology-administrative-
filings.
24 See Connect America Fund: A National Broadband Plan for Our

Future High-Cost Universal Service Support, WC Docket No. 10-90;
Schools and Libraries Service Support Mechanism, CC Docket No. 02-6;
Rural Health Care Support Mechanism, WC Docket No. 02-60; Lifeline
and Link Up Reform and Modernization, WC Docket 11-42.
25 Id.

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when Petitioner states that “neither the specific recipients nor the

specific beneficiaries of the fund are named in the Act.”26

      Surely, Petitioners cannot mean the statute is invalid because

Congress failed to name, for example, each of the 86 schools in the New

Orleans school district (and every other school in the Nation) that

benefit from the USF, and then failed to update that list anytime a new

public or non-profit private school was added or removed.

      Rather, Congress adopted critical definitions that set guardrails

on which classes of entities are eligible as recipients and beneficiaries.

Congress directed that only “eligible telecommunications carriers”

(“ETC”), that is a carrier providing the services to eligible beneficiaries,

can receive support, which is a defined term in the statute.27 ETCs are

individual carriers licensed by states.28 In addition, Congress

established definitions for “schools,” “libraries,” and “health care

providers” defining those classes of potential beneficiaries in the

statute.29



26 Petitioner’s Brief at 14.
27 47 U.S.C. §§ 254(e), 214(e)(1).
28 47 U.S.C. § 214 (e)(2).
29 47 U.S.C.§ 254(h)(7).

                                     13
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      This approach is consistent with other statutory regimes where

Congress defines the class and leaves implementing policy consistent

with that definition to the agency. In fact, the FCC’s own statute is

replete with Congressionally-defined discrete classes of entities that are

within the scope of a statutory provision. For example, the FCC is

required to protect wireless licensees from harmful interference30 and is

authorized to distribute auction money to licensees that choose to

participate in an incentive auction.31

      Other federal agencies also operate with statutory provisions for

discrete classes of eligible entities and people. Would the Veterans

Administration, for example, only be able to accept veterans as

recipients of hospital care if Congress specifically designated each

veteran by name? Of course not. Would Congress need to enumerate

annually each student eligible to receive financial aid to attend

college?32 No. Would Congress need to list every potential first-time

home buyer under the definition of “mortgagor” so the U.S. Department




30 47 U.S.C. § 302a.
31 47 U.S.C. § 309(j)(8)(G).
32 20 U.S.C. § 1091.

                                     14
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of Housing and Urban Development could administer its first-time

home buyer program?33 Again, no.

      Finally, in terms of the operation of the statute and the FCC rules

to ensure compliance with Congress’ directive on eligible participants,

the FCC established a process by which potential participants in the

program can apply for support, which they do by first registering with

the FCC through the Commission Registration System (CORES)34 and

then applying through the FCC for a 498 identification number.35 Once

an entity has that identification number, then it can begin the process

with USAC of enrolling for the programmatic support it is eligible to

receive.

      When taken together, the above demonstrates that despite

Petitioners contention to the contrary, there are guardrails on who can

participate in USF that Congress defined for the FCC; consistent with

that directive the FCC sets the terms under which the various USF

programs operate, including the budget; and USAC merely administers


33 12 U.S.C. § 1707(b).
34 CORES registration available at

https://apps.fcc.gov/cores/userLogin.do.
35 Form 498 Instructions and Form available at

https://www.fcc.gov/document/fcc-form-498-instructions.
                                    15
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the program as defined by the FCC. It is, therefore, simply not the case

that USAC is in charge and the FCC’s role is ministerial.

III.   CONCLUSION

       Consistent with Congress’ intent in 1996 to make explicit what

had been an implicit support system, the FCC has worked over the

subsequent 25 years to ensure that Congressional intent is reflected in

its universal service program. As demonstrated in this filing, Congress

provided the FCC with sufficient statutory language to define the

purpose, scope and intent of the universal service mechanism contained

in Section 254 of the Act. Moreover, Congress provided definitions to

guide the FCC’s understanding related to which entities are eligible to

participate in the program. Further, as set forth in this brief, the FCC’s

oversight and policymaking functions demonstrates that far from the

Petitioner’s contention that the USF is run by a private entity, the FCC,

an independent agency, is the entity that truly runs the universal

service program. USAC merely performs ministerial functions. The

FCC’s management of the universal service program ensures that the

program advances the mission of universal service, while also

maintaining government oversight over this critical program.

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      Petitioners brief makes much of the fact that the universal service

fund was “approaching $10 billion for 2021, which was roughly 25 times

the FCC’s entire annual budget.”36 A well-managed and efficiently

administered program should strive for such low administrative

overhead, but the larger point is that ensuring the United States has

the communications networks necessary to promote a vibrant economy

and afford all citizens the opportunities that these networks present is

not an inexpensive proposition. Rather, it is an undertaking that

requires expertise and a sufficient and predictable funding, which is

exactly the purpose of the universal service program.


                                  Respectfully submitted,


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36 Petitioner’s Brief at 16.

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                 CERTIFICATE OF COMPLIANCE


      This brief complies with the type-volume limitation of Fed. R. App.

P. 29(a)(5) because it contains 3142 words, excluding the parts of the

brief exempted by Fed. R. App. P. 32(f).

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P. 32(a)(5)(A) because it has been prepared in a proportionally spaced

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                     CERTIFICATE OF SERVICE


      I certify that, on October 4, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court

of Appeals for the District of Columbia Circuit through the CM/ECF

system, which will serve all parties, intervenors, and amici

electronically.

Dated: October 4, 2023



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